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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                            Case No. 14-40138-01-DDC

AHMAD SALIM SALTI,

            Defendant.
____________________________________

                                MEMORANDUM AND ORDER

       The court grants defendant’s unopposed Motion to Stay Execution of Restitution Order

(Doc. 90). Fed. R. Crim. P. 38(e)(1) allows a district court to stay “any sentence providing for

restitution under 18 U.S.C. § 3556[,]” if defendant appeals. Although defendant has filed a

notice of appeal and the Tenth Circuit has docketed his appeal, the court concludes that it retains

jurisdiction to enter a stay under Fed. R. Crim. P. 38(e)(1). See United States v. Goodyear, No.

CR-17-179-HE, 2019 WL 4180521, at *2 (W.D. Okla. Aug. 8, 2019), report and

recommendation adopted, No. CR-17-00179-001-HE, 2019 WL 4179527 (W.D. Okla. Sept. 3,

2019) (concluding that defendant’s notice of appeal did not divest the court of jurisdiction over

the government’s application for post-judgment writ of garnishment and defendant’s related

argument that the court stay its garnishment order); see also United States v. Alvarez, No. 14-

CR-1748-GPC, 2015 WL 13187313, at *2 (S.D. Cal. Apr. 10, 2015) (granting stay of restitution

order pending appeal under Fed. R. Crim. P. 38(e)(1) even though defendant had filed notice of

appeal). Because the parties agree that a stay of the court’s restitution order is reasonable, and a

stay would not prejudice the government nor the victim, the court grants the unopposed Motion

to Stay Execution of Restitution Order (Doc. 90).
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       IT IS THEREFORE ORDERED BY THE COURT THAT defendant’s unopposed

Motion to Stay Execution of Restitution Order (Doc. 90) is granted.

       IT IS SO ORDERED.

       Dated this 15th day of October, 2021, at Kansas City, Kansas.



                                                   s/ Daniel D. Crabtree______
                                                   Daniel D. Crabtree
                                                   United States District Judge




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